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 5
                       IN THE UNITED STATES DISTRICT COURT
 6
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                        ) Case No.: CR. S-09-193 FCD
     UNITED STATES OF AMERICA,            )
 9                                        ) STIPULATION AND ORDER TO CONTINUE
                Plaintiff,                ) STATUS CONFERENCE
10                                        )
          vs.                             ) Court: Hon. Frank C. Damrell, Jr.
11                                        ) Time:   10:00 a.m.
                                          ) Date:   August 23, 2010
12   FRANK PAUL TURNER, et.al.,           )
                                          )
13              Defendants.
14

15

16

17        Defendants Frank Turner, Leslie Bell, and Anthony Wilson, by and
18   through their undersigned counsel, and the United States of America,
19   by and through Assistant United States Attorney, Jill Thomas, request
20   that this matter be continued for a status conference to August 23,
21   2010, at 10:00 a.m..     Defendants are charged in an indictment alleging
22   three counts of violations of 21 U.S.C. §§s 841(a)(1) – Possession of
23   Cocaine Base with Intent to Distribute.     A status conference was
24   previously set for June 28, 2010.      The parties continue to be
25   involved in defense investigation, as well as negotiations and all
26   parties request that the current status conference be continued to
27   August 23, 2010, and that date is available with the Court.
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 1        The parties agree that time should be excluded under 18 U.S.C. §

 2   3161(h)(8)(i) for defense preparation and under local code T4.

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 4
     Dated: June 21, 2010        Respectfully submitted,
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 6

 7
                                       __/s/ Shari Rusk___
                                       Shari Rusk
 8                                     Attorney for Defendant
                                       Leslie Bell
 9

10                                     /s/ Olaf Hedberg
                                       Olaf Hedberg
11                                     Attorney for Defendant
                                       Frank Turner
12

13
                                       /s/ Mike Long_______
14                                     Mike Long
                                       Attorney for Defendant
15                                     Anthony Wilson

16                                      /s/ Jill Thomas
                                       Jill Thomas
17
                                       Assistant United States Attorney
18

19

20
                                       ORDER
21

22
          IT IS SO ORDERED.   The Court finds excludable time through August
23
     23, 2010, based on Local Code T4, giving counsel reasonable time to
24
     prepare.
25
     DATED: June 22, 2010
26

27                                   _______________________________________
                                     FRANK C. DAMRELL, JR.
28                                   UNITED STATES DISTRICT JUDGE




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